      Case 7:20-cv-04573-PMH-PED
Case 7-20-cv-04573-PMH    Document Document
                                   104 Filed106  Filed on
                                             in NYSD   10/16/20  Page 1Page
                                                          10/14/2020    of 1 1 of 1



 Application granted. The initial conference is adjourned to
 10/28/2020 at 10:30 a.m. The proposed civil case discovery plan
 and scheduling order is due, pursuant to my rules, at least one
 week before the date of the conference. The parties are
 permitted to seek discovery prior to the date of the initial
                                                                                 Orrick, Herrington & Sutcliffe LLP
 conference.
                                                                                 51 West 52nd Street
                                                                                 New York, NY 10019-6142
 SO ORDERED.
                                                                                 +1 212 506 5000
                                                                                 orrick.com

 _______________________
 Philip M. Halpern
 United States District Judge                                                    James H. McQuade


 Dated: New York, New York                                                       E jmcquade@orrick.com
                                                                                 D +1 212 506 5198
 OctoberOctober 16, 2020
         14, 2020                                                                F +1 212 506 5151


 VIA ECF

 The Honorable Philip M. Halpern
 United States District Judge
 Southern District of New York
 500 Pearl Street, Room 1950
 New York, NY 10007

 Re:      International Business Machines v. Rodrigo Kede De Freitas Lima
          Case No. 7:20-cv-04573(PMH)(PED)

 Dear Judge Halpern:

 We represent Defendant Rodrigo Lima in the above-referenced action. We write to respectfully
 request an adjournment of: (1) the Initial Conference from October 21, 2020 at 3:30 pm to another
 day in the week of October 26 – 30, 2020; and (2) the date for submitting the parties’ proposed civil
 case discovery plan and scheduling order (the “Plan”) from October 14, 2020 to October 23, 2020.
 The parties are scheduled to participate in a mandatory mediation with the United States Court of
 Appeals for the Second Circuit, Civil Appeals Mediation Program on October 20, 2020, and we believe
 that filing the Plan after the completion of the mediation will enable the parties to (i) make any post-
 mediation adjustment to the Plan in the event the mediation is unsuccessful, and (ii) hold the Initial
 Conference after the filing of the Plan. There have been no previous requests for an adjournment.
 Counsel for Plaintiff IBM has advised us that IBM does not consent to this request.

 Respectfully,

 /s/ James McQuade

 James H. McQuade




 4145-9130-1928.1
